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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                           #12(4/19)
                                       CIVIL MINUTES - GENERAL
 Case No.       CV 21-698 PSG (SKx)                                         Date   April 15, 2021
 Title          American Career College, Inc. et al v. Mario Oswaldo Medina, Sr., et al




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           The Court DENIES the motion to dismiss

       Before the Court is a motion to dismiss the First Amended Complaint (“FAC”) filed by
Defendants Mario Oswaldo Medina, Sr., (“Medina”), Roger Adolfo Ortiz (“Ortiz”), Rolando
Valdivia (“Valdivia”), and Unete Healthcare Associates, LLC (“Unete”) (“collectively,
“Defendants”). See generally Dkt. # 12 (“Mot.”). Plaintiffs American Career College, Inc.
(“ACC”) and West Coast University, Inc. (“WCU”) (collectively, “Plaintiffs”), opposed, see
generally Dkt. # 14 (“Opp.”), and Defendants replied, see generally Dkt. # 15 (“Reply”). The
Court finds the matter appropriate for decision without oral argument. See Fed. R. Civ. P. 78(b);
L.R. 7-15. Having considered the moving, opposing, and reply papers, the Court DENIES the
motion.

        The Local Rules and this Court’s standing order require counsel to meet and confer at
least seven days prior to filing a motion like the one at issue. See L.R. 7-3; Standing Order ¶
5(b). Local Rule 7-3 states:

         In all cases not listed as exempt in L.R. 16-12, and except in connection with discovery
         motions (which are governed by L.R. 37-1 through 37-4) and applications for temporary
         restraining orders or preliminary injunctions, counsel contemplating the filing of any
         motion shall first contact opposing counsel to discuss thoroughly, preferably in person,
         the substance of the contemplated motion and any potential resolution. The conference
         shall take place at least seven (7) days prior to the filing of the motion. If the parties are
         unable to reach a resolution which eliminates the necessity for a hearing, counsel for the
         moving party shall include in the notice of motion a statement to the following effect:
         “This motion is made following the conference of counsel pursuant to L.R. 7-3 which
         took place on (date).”



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The Court’s Standing Order states:

         Counsel must comply with Local Rule 7-3, which requires counsel to engage in a
         prefiling conference “to discuss thoroughly . . . the substance of the contemplated motion
         and any potential resolution.” Counsel should discuss the issues to a sufficient degree
         that if a motion is still necessary, the briefing may be directed to those substantive issues
         requiring resolution by the Court. Counsel should resolve minor procedural or otherwise
         non-substantive matters during the conference.

Standing Order ¶ 5(b).

        Defendants’ notice of motion does not contain any statement regarding the parties’
attempts to meet and confer about the issues in the motion. See Notice of Motion, Dkt. # 12 at 2.
Further, in their opposition, Plaintiffs state that Defendants failed to confer with Plaintiffs until
March 5, only four days before the instant motion was filed. Opp. 8:21–9:4. When Defendants
finally notified Plaintiffs of their intent to file a motion, Defendants’ meet and confer letter was
insufficient for several additional reasons. The letter “consist[ed] of five sentences, two of
which confirm[ed] receipt of the FAC and note[d] that new claims were added.” Id. 9:14–15.
The three substantive sentences were “conclusory and vague,” and “fail[ed] to identify any legal
deficiency in the FAC” or “cite to any legal authority.” Id. 9:16–17. Importantly, “the letter
fail[ed] to address any differences between the FAC and the Complaint.” Id. 9:17–18. Plaintiffs
also informed the Court that Defendants failed to meet and confer before filing their first motion
to dismiss the original complaint. Id.

       In reply, Defendants admit that they failed to comply with the meet and confer
requirement and explain that “the delay was inadvertent and due to a switch in personnel during
the pendency of an associate’s maternity leave.” Reply 2:17–20. However, Defendants state a
more meaningful meet and confer would not have resolved any issues because “upon review of
the Plaintiffs’ Opposition, Defendants stand by the Motion and its effort to dismiss each cause of
action therein.” Id. 3:1–6.

       Defendants’ briefing illustrates why adhering to the meet and confer requirement is
important. For example, Defendants move to dismiss Plaintiffs’ civil RICO claim because
Plaintiffs’ two alleged predicate offenses (extortion and theft by deceit) are not proper RICO
predicate offenses. Mot. at 6–8. However, the motion fails to address that the FAC alleges an
additional three RICO predicate offenses (mail fraud, wire fraud, and theft of trade secrets).
FAC ¶ 69. Accordingly, even if Defendants are correct that the FAC fails to plead extortion and


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theft by deceit as predicate offenses, the RICO claim would not necessarily fail because the FAC
lists three additional offenses.1 Had the parties properly met and conferred, Defendants’ would
not have briefed legally irrelevant issues.

       The Court generally does not excuse noncompliance with Rule 7-3, and it will not do so
here. The meet-and-confer requirements of Local Rule 7-3 are in place for a reason, namely to
conserve the resources of the parties and the Court by “allow[ing] for a possible informal
resolution of an issue without court intervention, but also [to] enable the parties to brief the
remaining disputes in a thoughtful, concise and useful manner.” See Caldera v. J.M. Smucker
Co., CV12-4936 GHK (VBKx), 2013 WL 6987905, at *1 (C.D. Cal. Jun. 3, 2013) (internal
quotations omitted). This is especially true in this case, where both parties could have benefitted
from discussing the changes Plaintiffs made to the original complaint through submission of the
FAC.

       Accordingly, because this Court is “unwilling to excuse non-compliance with the Local
Rules,” see Superbalife Int’l v. Powerpay, No. CV 08-5099 PSG, 2008 WL 4559752, at *2 (C.D.
Cal. Oct. 7, 2008), the Court DENIES Defendants’ motion without prejudice.

            IT IS SO ORDERED.




1
 In their reply, Defendants argue that the FAC’s allegations regarding wire fraud, mail fraud,
and theft of trade secrets are also insufficient. Reply 3:18–4:4. However, these arguments do
not adequately challenge Plaintiffs’ RICO claim because “arguments not raised by a party in its
opening brief are deemed waived.” U.S. v. Romm, 455 F.3d 990, 997 (9th Cir. 2006) (internal
quotation marks omitted) (citation omitted).

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